         Case 3:18-cv-01554-EMC Document 122 Filed 09/20/18 Page 1 of 20



 1   Alycia A. Degen (SBN 211350)
     adegen@sidley.com
 2   Sean A. Commons (SBN 217603)
     scommons@sidley.com
 3   SIDLEY AUSTIN LLP
     555 West Fifth Street
 4   Los Angeles, CA 90013
     Telephone: +1 213 896 6010
 5   Facsimile: +1 213 896 6600

 6   Ahilan T. Arulanantham (SBN 237841)
     aarulanantham@aclusocal.org
 7   ACLU FOUNDATION
     OF SOUTHERN CALIFORNIA
 8   1313 West 8th Street
     Los Angeles, CA 90017
 9   Telephone: +1 213 977 5211
     Fax: +1 213 977 5297
10
     Jessica Karp Bansal (SBN 277347)
11   jbansal@ndlon.org
     Emilou MacLean (SBN 319071)
12   emi@ndlon.org
     NATIONAL DAY LABORER
13   ORGANIZING NETWORK
     674 S. La Fayette Park Place
14   Los Angeles, CA 90057
     Telephone: +1 213 380 2214
15   Fax: +1 213 380 2787

16   Attorneys for Plaintiffs
     [Additional Counsel Listed on Next Page]
17
                                  UNITED STATES DISTRICT COURT
18                               NORTHERN DISTRICT OF CALIFORNIA
19                                       SAN FRANCISCO

20   CRISTA RAMOS, et al.,                       Case No. 3:18-cv-1554-EMC
21                 Plaintiffs,                   CORRECTED DECLARATION OF
                                                 ALYCIA A. DEGEN IN SUPPORT OF
22          vs.                                  PLAINTIFFS’ MOTION FOR
                                                 PRELIMINARY INJUNCTION
23   KIRSTJEN NIELSEN, et al.,                   Date: September 25, 2018
24                                               Time: 10:30 p.m.
                   Defendants.                   Judge: Hon. Edward M. Chen
25                                               Dept.: Courtroom 5, 17th Floor

26                                               Complaint Filed:   March 12, 2018
                                                 Trial Date:        None set
27

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       CORRECTED DECLARATION OF ALYCIA A. DEGEN ISO OF MOTION FOR PRELIMINARY INJUNCTION
                                  CASE NO. 3:18-cv-1554-EMC
         Case 3:18-cv-01554-EMC Document 122 Filed 09/20/18 Page 2 of 20



 1   Additional Counsel for Plaintiffs

 2    William S. Freeman (SBN 82002)                         Mark E. Haddad (SBN 205945)
      wfreeman@aclunc.org                                    markhadd@usc.edu
 3    ACLU FOUNDATION                                        Part-time Lecturer in Law
      OF NORTHERN CALIFORNIA                                 USC Gould School of Law*
 4    39 Drumm Street                                        University of Southern California
      San Francisco, California 94111                        699 Exposition Boulevard
 5    Telephone: +1 415 621 2493                             Los Angeles, CA 90089-0071
      Fax: +1 415 863 7832                                   Telephone: +1 213 675 5957
 6
      Nicole M. Ryan (SBN 175980)                            Amanda Farfel (SBN 288126)
 7    nicole.ryan@sidley.com                                 afarfel@sidley.com
      Ryan M. Sandrock (SBN 251781)                          Andrew B. Talai (SBN 300053)
 8    rsandrock@sidley.com                                   atalai@sidley.com
      SIDLEY AUSTIN LLP                                      Marisol Ramirez (SBN 307069)
 9    555 California Street                                  marisol.ramirez@sidley.com
      Suite 2000                                             Mohindra Rupram (SBN 319478)
10    San Francisco, CA 94104                                mrupram@sidley.com
      Telephone: +1 415 772 1219                             SIDLEY AUSTIN LLP
11    Facsimile: +1 415 772 7400                             555 West Fifth Street
                                                             Los Angeles, CA 90013
12                                                           Telephone: +1 213 896 6000
                                                             Facsimile: +1 213 896 6600
13
      Katelyn N. Rowe (SBN 318386)                           Jessica Fishfeld (Pro Hac Vice)
14    krowe@sidley.com                                       jfishfeld@sidley.com
      SIDLEY AUSTIN LLP                                      SIDLEY AUSTIN LLP
15    1999 Avenue of the Stars, 17th Floor                   One South Dearborn
      Los Angeles, CA 90067                                  Chicago, IL 60603
16    Telephone: +1 310 595 9598                             Telephone: +1 312 853 2031
      Facsimile: +1 310 595 9501                             Facsimile: +1 312 853 7036
17
      Matthew J. Letten (Pro Hac Vice pending)               Jillian R. Dent (Pro Hac Vice pending)
18    mletten@sidley.com                                     jdent@sidley.com
      SIDLEY AUSTIN LLP                                      SIDLEY AUSTIN LLP
19    1501 K Street, N.W.                                    One South Dearborn
      Washington, DC 20005                                   Chicago, IL 60603
20    Telephone: +1 202 736 8565                             Telephone: +1 312 853 7022
      Facsimile: +1 736 8711                                 Facsimile: +1 312 853 7036
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     * Institution listed for identification purposes only
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       CORRECTED DECLARATION OF ALYCIA A. DEGEN ISO OF MOTION FOR PRELIMINARY INJUNCTION
                                  CASE NO. 3:18-cv-1554-EMC
         Case 3:18-cv-01554-EMC Document 122 Filed 09/20/18 Page 3 of 20



 1   I, Alycia A. Degen, declare as follows:

 2          1.      I am an attorney at law duly licensed and entitled to practice in the State of

 3   California. I am a partner at Sidley Austin LLP (“Sidley”), counsel of record for plaintiffs in this

 4   action. I make this declaration in support of Plaintiffs’ Motion for Preliminary Injunction. I have

 5   personal knowledge of the following facts and, if called as a witness, I could and would testify

 6   competently thereto.

 7          2.      Attached hereto as Exhibit 1 is a true and correct copy of an email thread dated

 8   August 29, 2017 by and between Briana Petyo, Gene Hamilton, Francis Cissna, Michael Dougherty,

 9   and Eric Johnson, bearing Bates numbers DPP_00000471 through DPP_00000472 and was

10   produced by defendants in this action.

11          3.      Attached hereto as Exhibit 2 is a true and correct copy of an email thread dated

12   October 13, 2017 by and between Kathy Nuebel Kovarik, Kathryn Anderson, Laurence Levine, and

13   individuals whose names have been redacted by the government, bearing Bates numbers

14   DPP_00003139 through DPP_00003145 and was produced by defendants in this action.

15          4.      Attached hereto as Exhibit 3 is a true and correct copy of an email thread dated

16   October 22, 2017 by and between Robert Law, Kathy Nuebel Kovarik, Brandon Prelogar, Kathryn

17   Anderson, and Laurence Levine, bearing Bates numbers DPP_00003349 through DPP_00003350

18   and was produced by defendants in this action. The email references an attachment which was not

19   produced by the government.

20          5.      Attached hereto as Exhibit 4 is a true and correct copy of an email thread dated

21   October 19, 2017 by and between Brandon Prelogar, Kathy Nuebel Kovarik, Kathryn Anderson,

22   Laurence Levine, James McCament, and Victoria Porto, bearing Bates numbers DPP_00003192

23   through DPP_00003194 and was produced by defendants in this action. The email references four

24   attachments, but only one of the attachments was produced by the government.

25          6.      Attached hereto as Exhibit 5 is a true and correct copy of an email thread dated

26   September 12, 2017 by and between Brandon Prelogar, Samantha Deshommes Kathy Nuebel

27   Kovarik, Kathryn Anderson, Laurence Levine, and Jerry Rigdon, bearing Bates number

28   DPP_00003177 and was produced by defendants in this action.
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      CORRECTED DECLARATION OF ALYCIA A. DEGEN ISO OF MOTION FOR PRELIMINARY INJUNCTION
                                   CASE NO. 3:18-cv-1554-EMC
         Case 3:18-cv-01554-EMC Document 122 Filed 09/20/18 Page 4 of 20



 1           7.     Attached hereto as Exhibit 6 is a true and correct copy of an email thread with

 2   attachment dated August 31, 2017 by and between Brandon Prelogar, Kathy Nuebel Kovarik,

 3   Kathryn Anderson, Jerry Rigdon, Samantha Deshommes, Danzy Alford, and Mark Boivin, bearing

 4   Bates numbers DPP_00003149 through DPP_00003176 and was produced by defendants in this

 5   action. The email references an attachment which was not produced by the government.

 6           8.     Attached hereto as Exhibit 7 is a true and correct copy of an email thread dated

 7   September 19, 2017 by and between James McCament, Kathy Nuebel Kovarik, James Nealon, Gene

 8   Hamilton, Michael Dougherty, Joseph Maher, Christina McDonald, Craig Symons, and Lora Ries,

 9   bearing Bates numbers DPP_00003039 through DPP_00003043 and was produced by defendants in

10   this action.

11           9.     Attached hereto as Exhibit 8 is a true and correct copy of an email thread dated

12   September 22, 2017 by and between Brandon Prelogar, Kathy Nuebel Kovarik, and Kathryn

13   Anderson, bearing Bates numbers DPP_00003186 through DPP_00003191 and was produced by

14   defendants in this action.

15           10.    Attached hereto as Exhibit 9 is a true and correct copy of an email thread dated

16   September 21, 2017 by and between James McCament, Daniel Brown, Robert Williams, Nicole

17   Widdersheim, Paul Sutphin, Andrew Burnett, Stuart Crampton, Patrick Antonietti, Scott Buchanan,

18   Cooper Brown, Matthew Minatelli, and Ally Bain, bearing Bates numbers DPP_00000615 through

19   DPP_00000616 and was produced by defendants in this action. The email references an attachment

20   which was not produced by the government.

21           11.    Attached hereto as Exhibit 10 is a true and correct copy of an email thread dated

22   September 22, 2017 by and between James McCament, James Nealon, Christina McDonald, Michael

23   Dougherty, Gene Hamilton, Joseph Maher, Dimple Shah, Nader Boroukh, Craig Symons, James

24   Nealon, Kathy Nuebel Kovarik, Brandon Prelogar, Lora Ries, Briana Petyo, and Tracy Renaud,

25   bearing Bates numbers DPP_00002051 through DPP_00002056 and was produced by defendants in

26   this action.

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       CORRECTED DECLARATION OF ALYCIA A. DEGEN ISO OF MOTION FOR PRELIMINARY INJUNCTION
                                  CASE NO. 3:18-cv-1554-EMC
         Case 3:18-cv-01554-EMC Document 122 Filed 09/20/18 Page 5 of 20



 1          12.     Attached hereto as Exhibit 11 is a true and correct copy of a document titled “INA:

 2   Act 244 – Temporary Protected Status” bearing Bates numbers DPP_00002591 through

 3   DPP_00002600 and was produced by defendants in this action.

 4          13.     Attached hereto as Exhibit 12 is a true and correct copy of the caption page,

 5   excerpted pages, and the certification pages of a transcript of a deposition of James Nealon, taken on

 6   August 14, 2018 in this action.

 7          14.     Attached hereto as Exhibit 13 is a true and correct copy of an email thread dated May

 8   16, 2017 by and between Brandon Prelogar, James McCament, Kathy Nuebel Kovarik, Laurence

 9   Levine, and Kathryn Anderson, bearing Bates numbers DPP_000002960 through DPP_000002964

10   and was produced by defendants in this action. The email references two attachments, both of which

11   were produced by the government.

12          15.     Attached hereto as Exhibit 14 is a true and correct copy of a White House

13   Memorandum dated November 3, 2017 addressed to Lisa D. Kenna, Tashina Gauhar, Scott Krause,

14   Joh F. Kelly, Kirstjen Nielsen, Sarah H. Sanders, Andrew Bremberg, Marc Short, and John

15   Eisenberg, bearing Bates numbers DPP_000003566 through DPP_000003581 and was produced by

16   defendants in this action.

17          16.     Attached hereto as Exhibit 15 is a true and correct copy of a two-page document

18   published on NIPNLG’s website, which presents as a document titled “Haiti: TPS Addendum” and

19   dated February 7, 2017.

20          17.     Attached hereto as Exhibit 16 is a true and correct copy of a document titled “TPS

21   Considerations: Haiti (October 2017),” which was produced by defendants in this action bearing

22   Bates numbers AR-HAITI-00000046 through AR-HAITI-00000063.

23          18.     Attached hereto as Exhibit 17 is a true and correct copy of a three-page document

24   published on NIPNLG’s website, which presents as an email thread dated May 22, 2017 by and

25   between James McCament, Donald Neufeld, Tracy Renaud, Kathy Nuebel Kovarik, and individuals

26   whose names have been redacted by the government. The email references an attachment which was

27   not produced by the government.

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       CORRECTED DECLARATION OF ALYCIA A. DEGEN ISO OF MOTION FOR PRELIMINARY INJUNCTION
                                  CASE NO. 3:18-cv-1554-EMC
         Case 3:18-cv-01554-EMC Document 122 Filed 09/20/18 Page 6 of 20



 1           19.       Attached hereto as Exhibit 18 is a true and correct copy of the caption page,

 2   excerpted pages, and the certification pages of a transcript of a deposition of Kathy Nuebel Kovarik,

 3   taken on August 3, 2018 in this action.

 4           20.       Attached hereto as Exhibit 19 is a true and correct copy of the caption page,

 5   excerpted pages, and the certification pages of a transcript of a deposition of Donald Warren

 6   Neufeld, taken on August 9, 2018 in this action.

 7           21.       Attached hereto as Exhibit 20 is a true and correct copy of an email thread dated

 8   August 30, 2017 by and between David Palmer, Kathy Nuebel Kovarik, Gene Hamilton, Christina

 9   McDonald, Craig M. Symons, Joseph Maher, Bader Baroukh, Dimple Shah, and James McCament

10   bearing Bates numbers DPP_000001736 through DPP_000001739 and was produced by defendants

11   in this action.

12           22.       Attached hereto as Exhibit 21 is a true and correct copy of an article from the Vice

13   News website (https://bit.ly/2NbpZlG) posted on May 3, 2017 titled “Six Top Trump Advisors have

14   ties to FAIR, a Radical Anti-immigration Group.”

15           23.       Attached hereto as Exhibit 22 is a true and correct copy of an article from the

16   Southern Poverty Law Center website (https://bit.ly/1KWdEcO) titled “Federation for American

17   Immigration Reform.”

18           24.       Attached hereto as Exhibit 23 is a true and correct copy of an article from the Fair

19   website (https://bit.ly/2N5cOCw) titled “Immigration Priorities for the 2017 Presidential

20   Transition.”

21           25.       Attached hereto as Exhibit 24 is a true and correct copy of an article from the New

22   Yorker website (https://bit.ly/2i0yCSb) posted on November 10, 2017 titled “A Trump Official

23   Behind the End of DACA Explains Himself.”

24           26.       Attached hereto as Exhibit 25 is a true and correct copy of an article from the Politico

25   website (https://politi.co/2lGOPhb) posted on June 26, 2018 title “Stephen Miller Roiling Nation

26   with Back-channel Immigration Meetings.”

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       CORRECTED DECLARATION OF ALYCIA A. DEGEN ISO OF MOTION FOR PRELIMINARY INJUNCTION
                                  CASE NO. 3:18-cv-1554-EMC
         Case 3:18-cv-01554-EMC Document 122 Filed 09/20/18 Page 7 of 20



 1             27.     Attached hereto as Exhibit 26 is a true and correct copy of an article from The Hill

 2   website (https://bit.ly/2BrwAXz) posted on August 15, 2018 titled “Immigration agency chief

 3   defends striking ‘nation of immigrants’ from mission statement.”

 4             28.     Attached hereto as Exhibit 27 is a true and correct copy of an email thread dated

 5   September 1, 2017 by and between James McCament, Gene Hamilton, Elizabeth Neumann, Chad

 6   Wolf, Joseph Hamer, Katy Nuebel Kovarik, and Jennifer B. Higgins bearing Bates numbers

 7   DPP_00002994 through DPP_00002997 and was produced by defendants in this action. The email

 8   references two attachments, one of which was produced by defendants, bearing Bates numbers

 9   DPP_00002998 through DPP_00002304.

10             29.     Attached hereto as Exhibit 28 is a true and correct copy of an article from the

11   Washington Post website (https://wapo.st/2MSfA1m) posted on November 9, 2017 titled “White

12   House Chief of Staff Tried to Pressure Acting DHS Secretary to Expel Thousands of Hondurans,

13   Officials Say.”

14             30.     Attached hereto as Exhibit 29 is a true and correct copy of a three-page untitled

15   document, which was produced by defendants in this action bearing Bates numbers DPP_00003582

16   through DPP_00003584.

17             31.     Attached hereto as Exhibit 030 is a true and correct copy of an email thread dated

18   November 6, 2017 by and between Elaine C. Duke (Acting Secretary, Department of Homeland

19   Security) and John F. Kelly that was marked as Exhibit 11 at the deposition of Kathy Nuebel

20   Kovarik, bears Bates numbers DHS_RFPD_00000005, and was produced by defendants in this

21   action.

22             32.     Attached hereto as Exhibit 31 is a true and correct copy of a transcript from a

23   conference call from November 6, 2017 bearing Bates numbers DHS-001-659-000723 through

24   DHS-001-659-000735.

25             33.     Attached hereto as Exhibit 32 is a true and correct copy of a two-page document

26   published on NIPNLG’s website, which presents as an email thread dated May 12, 2017 by and

27   between Kathy Nuebel Kovarik and individuals whose names have been redacted by the

28   government.
                                             5
       CORRECTED DECLARATION OF ALYCIA A. DEGEN ISO OF MOTION FOR PRELIMINARY INJUNCTION
                                  CASE NO. 3:18-cv-1554-EMC
         Case 3:18-cv-01554-EMC Document 122 Filed 09/20/18 Page 8 of 20



 1          34.    Attached hereto as Exhibit 33 is a true and correct copy of a two-page document

 2   published on NIPNLG’s website, which presents as an email thread dated August 8, 2017 by and

 3   between individuals whose names have been redacted by the government.

 4          35.    Attached hereto as Exhibit 34 is a true and correct copy of a April 11, 2018

 5   congressional publication titled “House Appropriations Subcommittee on Homeland Security Holds

 6   Hearing on the Fiscal 2019 Department of Homeland Security Budget Request.”

 7          36.    Attached hereto as Exhibit 35 is a true and correct copy of a June 6, 2017

 8   congressional publication titled “Senate Homeland Security and Governmental Affairs Committee

 9   Holds Hearing on the Fiscal 2018 Budget for the Department of Homeland Security The Department

10   of Homeland Security.”

11          37.    Attached hereto as Exhibit 36 is a true and correct copy of a January 16, 2018

12   congressional publication titled “Senate Judiciary Committee Holds Hearing on Homeland Security

13   Department Oversight.”

14          38.    Attached hereto as Exhibit 37 is a true and correct copy of a document titled

15   “Temporary Protected Status and Following the Law,” bearing Bates numbers DPP_00003099

16   through DPP_00003101 and was produced by defendants in this action.

17          39.    Attached hereto as Exhibit 38 is a true and correct copy of an email thread dated

18   January 11, 2018 by and between Samantha Deshommes, Kathy Nuebel Kovarik, and Robert Law,

19   bearing Bates number DPP_000003364 and was produced by defendants in this action.

20          40.    Attached hereto as Exhibit 39 is a true and correct copy of a December 7, 2017

21   document titled “Deputy Secretary’s Briefing Book,” bearing Bates numbers DHS-001-659-000098

22   through DHS-001-659-000137.

23          41.    Attached hereto as Exhibit 40 is a true and correct copy of a decision memorandum

24   dated August 17, 2017 from James W. McCament, bearing Bates numbers DPP_00000174 through

25   DPP_00000200 and was produced by defendants in this action.

26          42.    Attached hereto as Exhibit 41 is a true and correct copy of a decision memorandum

27   dated August 28, 2017 from James W. McCament, bearing Bates numbers DPP_00000122 through

28   DPP_ 0000127 and was produced by defendants in this action.
                                                6
      CORRECTED DECLARATION OF ALYCIA A. DEGEN ISO OF MOTION FOR PRELIMINARY INJUNCTION
                                    CASE NO. 3:18-cv-1554-EMC
         Case 3:18-cv-01554-EMC Document 122 Filed 09/20/18 Page 9 of 20



 1           43.     Attached hereto as Exhibit 42 is a true and correct copy of a one-page document

 2   published on NIPNLG’s website, which presents as an email thread dated October 16, 2017 by and

 3   between Kathy Nuebel Kovarik, Francis Cissna, and James McCament bearing Bates number FOIA

 4   CIS July 183.

 5           44.     Attached hereto as Exhibit 43 is a true and correct copy of an email thread dated

 6   August 29, 2017 by and between Kathy Nuebel Kovarik, Christina McDonald, and James

 7   McCament, bearing Bates numbers DPP_00001746 through DPP_00001750 and was produced by

 8   defendants in this action.

 9           45.     Attached hereto as Exhibit 44 is a true and correct copy of a document titled decision

10   memorandum and dated October 26, 2017, bearing Bates numbers AR-NICARAGUA-00000086

11   through AR-NICARAGUA-00000093 and was produced by defendants in this action.

12           46.     Attached hereto as Exhibit 45 is a true and correct copy of a document titled

13   “Memorandum for the Secretary: Haiti’s Designation for Temporary Protected Status” and dated

14   November 3, 2017, bearing Bates numbers AR_HAITI_00000033 through AR_HAITI_00000039

15   and was produced by defendants in this action.

16           47.     Attached hereto as Exhibit 46 is a true and correct copy of “Defendants’ Responses

17   and Objections to Plaintiffs’ Special Interrogatories” dated July 6, 2018 and served by defendants in

18   this action.

19           48.     Attached hereto as Exhibit 47 is a true and correct copy of an email thread dated

20   April 6, 2017 by and between Kathy Nuebel Kovarik, Carl Risch, and Craig Symons, bearing Bates

21   numbers DPP_000002950 through DPP_00002955 and was produced by defendants in this action.

22           49.     Attached hereto as Exhibit 48 is a true and correct copy of an email thread dated

23   August 29, 2017 by and between Kathy Nuebel Kovarik, Christina McDonald, Gene Hamilton,

24   Dimple Shah, James McCament, Nader Baroukh, and Craig Symons, bearing Bates numbers

25   DPP_00000547 through DPP_00000548 and was produced by defendants in this action.

26           50.     Attached hereto as Exhibit 49 is a true and correct copy of an email thread dated

27   September 8, 2017 by and between Briana Petyo, Elizabeth Neuman, James Nealon, and Kathy

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       CORRECTED DECLARATION OF ALYCIA A. DEGEN ISO OF MOTION FOR PRELIMINARY INJUNCTION
                                  CASE NO. 3:18-cv-1554-EMC
        Case 3:18-cv-01554-EMC Document 122 Filed 09/20/18 Page 10 of 20



 1   Nuebel Kovarik, bearing Bates number DPP_000000457 and was produced by defendants in this

 2   action.

 3             51.   Attached hereto as Exhibit 50 is a true and correct copy of a document titled

 4   “Memorandum for the Secretary: Additional Information Related to Haiti’s Designation for

 5   Temporary Protected Status” and dated May 12, 2017, bearing Bates numbers DPP_00002956

 6   through DPP_00002959 and was produced by defendants in this action.

 7             52.   Attached hereto as Exhibit 51 is a true and correct copy of an email thread dated

 8   April 20, 2017 by and among Carl C. Risch, Francis Cissna, Craig M. Symons, Kathy Nuebel

 9   Kovarik, Laurence D. Levine, Brandon B. Prelogar, Christopher C. Ashe, and Brook E. Hefright,

10   bearing Bates number DPP_00001224.

11             53.   Attached hereto as Exhibit 52 is a true and correct copy of a document titled

12   “Decision Memorandum for the Secretary: Haiti’s Designation for Temporary Protected Status” and

13   dated April 10, 2017 that is publically available at

14   https://drive.google.com/file/d/0B_6gbFPjVDoxWTh2R2cxc3dxLXc/edit.

15             54.   Attached hereto as Exhibit 53 is a true and correct copy of a one-page document

16   published on NIPNLG’s website, which presents as an email thread dated May 16, 2017 by and

17   between individuals whose names have been redacted by the government, bearing Bates number

18   FOIA-1-0099.

19             55.   Attached hereto as Exhibit 54 is a true and correct copy of a four-page document

20   published on NIPNLG’s website, which presents as an email thread dated May 17, 2017 by and

21   between Donald Neufeld, James McCament, Tracy Renaud, and Kathy Nuebel Kovarik. The email

22   references an attachment which was not produced by the government.

23             56.   Attached hereto as Exhibit 55 is a true and correct copy of a three-page document

24   published on NIPNLG’s website, which presents as an email thread dated May 18, 2017 by and

25   between Kathy Nuebel Kovarik, James McCament, Tracy Renaud, and individuals whose names

26   have been redacted by the government.

27             57.   Attached hereto as Exhibit 56 is a true and correct copy of a eleven-page document

28   published on NIPNLG’s website, which presents as an email thread dated May 22, 2017 by and
                                                 8
       CORRECTED DECLARATION OF ALYCIA A. DEGEN ISO OF MOTION FOR PRELIMINARY INJUNCTION
                                     CASE NO. 3:18-cv-1554-EMC
        Case 3:18-cv-01554-EMC Document 122 Filed 09/20/18 Page 11 of 20



 1   between James McCament, Kathy Nuebel Kovarik, and individuals whose names have been redacted

 2   by the government. The email references an attachment which was not produced by the government.

 3          58.     Attached hereto as Exhibit 57 is a true and correct copy of a two-page document

 4   published on NIPNLG’s website, which presents as an email thread dated July 17, 2017 by and

 5   between Tracy Renaud, James McCament, Kathy Nuebel Kovarik, and individuals whose names

 6   have been redacted by the government.

 7          59.     Attached hereto as Exhibit 58 is a true and correct copy of an email thread dated

 8   September 19, 2017 by and between Briana Petyo and James Nealon, bearing Bates numbers

 9   DPP_000000507 through DPP_000000509 and was produced by defendants in this action.

10          60.     Attached hereto as Exhibit 59 is a true and correct copy of a three-page document

11   published on NIPNLG’s website, which presents as an email thread dated November 20, 2017 by

12   and between Francis Cissna and Kathy Nuebel Kovarik, bearing Bates numbers FOIA-8-0094

13   through FOIA-8-0096.

14          61.     Attached hereto as Exhibit 60 is a true and correct copy of a document titled

15   “Extension of Haiti’s Designation for Temporary Protected Status,” bearing Bates numbers

16   DPP_00002409 through DPP_00002432 and was produced by defendants in this action.

17          62.     Attached hereto as Exhibit 61 is a true and correct copy of a document titled

18   “Decision Memorandum for the Acting Secretary” and dated October 31, 2017, bearing Bates

19   numbers AR-EL-SALVADOR-00000042 through AR-EL-SALVADOR-00000044 and was

20   produced by defendants in this action.

21          63.     Attached hereto as Exhibit 62 is a true and correct copy of a document titled

22   “Memorandum for the Deputy Chief of Staff: TPS Recommendations for El Salvador, Honduras,

23   and Nicaragua” and dated October 31, 2017, bearing Bates number AR-EL-SALVADOR-00000041

24   and was produced by defendants in this action.

25          64.     Attached hereto as Exhibit 63 is a true and correct copy of an email thread dated

26   October 6, 2017 by and between Mark Bardwell, Christina McDonald, and Megan Westmoreland,

27   bearing Bates numbers DHS_RFPD_00001357 through DHS_RFPD_00001358 and was produced

28   by defendants in this action.
                                             9
       CORRECTED DECLARATION OF ALYCIA A. DEGEN ISO OF MOTION FOR PRELIMINARY INJUNCTION
                                  CASE NO. 3:18-cv-1554-EMC
        Case 3:18-cv-01554-EMC Document 122 Filed 09/20/18 Page 12 of 20



 1             65.   Attached hereto as Exhibit 64 is a true and correct copy of an email thread dated

 2   October 2, 2017 by and between Mark Bardwell, Christina McDonald, and Megan Westmoreland,

 3   bearing Bates numbers DHS_RFPD_00001389 through DHS_RFPD_00001390 and was produced

 4   by defendants in this action.

 5             66.   Attached hereto as Exhibit 65 is a true and correct copy of an email thread dated

 6   October 5, 2017 by and between Mark Bardwell, Christina McDonald, and Megan Westmoreland,

 7   bearing Bates number DHS_RFPD_00001391 and was produced by defendants in this action.

 8             67.   Attached hereto as Exhibit 66 is a true and correct copy of a three-page document

 9   published on NIPNLG’s website, which presents as an email thread dated November 3, 2017 by and

10   between Kathy Nuebel Kovarik, James McCament, and individuals whose names have been redacted

11   by the government.

12             68.   Attached hereto as Exhibit 67 is a true and correct copy of a document titled

13   “(U//SBU) El Salvador: Temporary Protected Status Recommendation” and dated July 7, 2017,

14   bearing Bates numbers DPP_00003504 through DPP_00003508 and was produced by defendants in

15   this action.

16             69.   Attached hereto as Exhibit 68 is a true and correct copy of a slip sheet “EXHIBIT 68

17   (INTENTIONALLY LEFT BLANK).”

18             70.   Attached hereto as Exhibit 69 is a true and correct copy of a document titled

19   “Honduras: Temporary Protected Status Recommendation” and dated June 29, 2017, bearing Bates

20   numbers DPP_00003522 through DPP_00003524 and was produced by defendants in this action.

21             71.   Attached hereto as Exhibit 70 is a true and correct copy of a document titled

22   “(U//SBU) Haiti: Temporary Protected Status Recommendation” and dated August 3, 2017, bearing

23   Bates numbers DPP_00003519 through DPP_00003521 and was produced by defendants in this

24   action.

25             72.   Attached hereto as Exhibit 71 is a true and correct copy of an article from the

26   Washington Post website (https://wapo.st/2Hij8CS) posted on May 8, 2018 titled “U.S. Embassy

27   Cables Warned Against Expelling 300,000 Immigrants. Trump Officials Did It Anyway.”

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       CORRECTED DECLARATION OF ALYCIA A. DEGEN ISO OF MOTION FOR PRELIMINARY INJUNCTION
                                  CASE NO. 3:18-cv-1554-EMC
        Case 3:18-cv-01554-EMC Document 122 Filed 09/20/18 Page 13 of 20



 1          73.     Attached hereto as Exhibit 72 is a true and correct copy of an email thread dated May

 2   14, 2018 by and between Sehal Zota in which he attaches the Senate Foreign Relations Committee

 3   Democratic Staff’s Memo on the Trump Administration’s Decision to End TPS Designations

 4   available at https://bit.ly/2IGm2pP.

 5          74.     Attached hereto as Exhibit 73 is a true and correct copy of a letter dated September 1,

 6   2017 from John J. Sullivan to the Honorable Elaine C. Duke, which was produced by defendants in

 7   this action bearing Bates numbers AR-SUDAN-00000049 through AR-SUDAN-00000050.

 8          75.     Attached hereto as Exhibit 74 is a true and correct copy of an email thread dated May

 9   8, 2017 by and between Kathryn Anderson, Laurence Levine, Michael Rather, Aisha Barnes, Josie

10   Graziadio, and Kathy Nuebel Kovarik, bearing Baes number DPP_00003121 and was produced by

11   defendants in this action.

12          76.     Attached hereto as Exhibit 75 is a true and correct copy of a one-page document

13   published on NIPNLG’s website, which presents as an email thread dated May 12, 2017 by and

14   between Kathy Nuebel Kovarik and individuals whose names have been redacted by the

15   government. The email references three attachments none of which were produced by the

16   government.

17          77.     Attached hereto as Exhibit 76 is a true and correct copy of an email thread dated May

18   12, 2017 by and between Bryan Prelogar, Kathryn Anderson, Kathy Nuebel Kovarik, and

19   individuals whose names have been redacted by the government, bearing Bates numbers

20   DPP_00003122 through DPP_00003136 and was produced by defendants in this action. The email

21   references two attachments none of which were produced by the government.

22          78.     Attached hereto as Exhibit 77 is a true and correct copy of a two-page document

23   published on NIPNLG’s website, which presents as an email thread dated April 7, 2017 by and

24   between individuals whose names have been redacted by the government.

25          79.     Attached hereto as Exhibit 78 is a true and correct copy of a four-page document

26   published on NIPNLG’s website, which presents as an email thread dated May 2, 2017 by and

27   between individuals whose names have been redacted by the government.

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       CORRECTED DECLARATION OF ALYCIA A. DEGEN ISO OF MOTION FOR PRELIMINARY INJUNCTION
                                  CASE NO. 3:18-cv-1554-EMC
        Case 3:18-cv-01554-EMC Document 122 Filed 09/20/18 Page 14 of 20



 1          80.     Attached hereto as Exhibit 79 is a true and correct copy of an email thread dated May

 2   1, 2017 by and between Kathryn Anderson, LeRoy Potts, Michael Hoefer, April Padilla, Kathy

 3   Nuebel Kovarik, Alexander King, Nicole Putnam-Frenchik, Catherine Chiang, Laurence Levine,

 4   Brandon Prelogar, Jennifer Beveridge, Robert Lee, Thomas Perkowski, Mark Phillips, Victoria

 5   Porto, David Lee, Guillerno Roman-Riefkohl, Scott Massey, Ronnie Thomas, Bret Woerz, and Carl

 6   Risch, bearing Bates numbers DPP_00003417 through DPP_00003430 and was produced by

 7   defendants in this action.

 8          81.     Attached hereto as Exhibit 80 is a true and correct copy of an email thread dated May

 9   2, 2017 by and between Jennifer L. Beveridge and Kathy Nuebel Kovarik, bearing Bates numbers

10   DPP_00003393 through DPP_00003405 and was produced by defendants in this action.

11          82.     Attached hereto as Exhibit 81 is a true and correct copy of a one-page document

12   published on NIPNLG’s website, which presents as an email thread dated April 25, 2017 by and

13   between James McCament, Kathy Nuebel Kovarik, and individuals whose names have been redacted

14   by the government.

15          83.     Attached hereto as Exhibit 82 is a true and correct copy of a two-page document

16   published on NIPNLG’s website, which presents as a document titled “Action Memo for the

17   Secretary: (SBU) Letters Regarding Temporary Protected Status (TPS) for Honduras, Nicaragua,

18   Haiti, and El Salvador” and dated October 30, 2017.

19          84.     Attached hereto as Exhibit 83 is a true and correct copy of a one-page document

20   published on NIPNLG’s website, which presents as an email thread dated October 26, 2017 by and

21   between Jennifer Ortiz. The email references ten attachments none of which were included with the

22   document.

23          85.     Attached hereto as Exhibit 84 is a true and correct copy of an email thread dated

24   April 7, 2017 by and between Gene Hamilton, Francis Cissna, James W. McCament and Michael

25   Dougherty, bearing Bates number DPP_00001105 and was produced by defendants in this action.

26          86.     Attached hereto as Exhibit 85 is a true and correct copy of the caption page,

27   excerpted pages, and the certification pages of a transcript of a deposition of James Nealon, taken on

28   August 22, 2018 in this action.
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       CORRECTED DECLARATION OF ALYCIA A. DEGEN ISO OF MOTION FOR PRELIMINARY INJUNCTION
                                  CASE NO. 3:18-cv-1554-EMC
         Case 3:18-cv-01554-EMC Document 122 Filed 09/20/18 Page 15 of 20



 1           87.       Attached hereto as Exhibit 86 is a true and correct copy of an email thread dated

 2   August 29, 2017 by and between Elizabeth Neumann and Briana Petyo, bearing Bates numbers

 3   DPP_00000563 through DPP_00000564 and was produced by defendants in this action.

 4           88.       Attached hereto as Exhibit 87 is a true and correct copy of a document titled

 5   “Memorandum for the Secretary: Sudan’s Designation for Temporary Protected Status,” bearing

 6   Bates numbers AR_SUDAN_00000005 AR_SUDAN_00000012 and was produced by defendants in

 7   this action.

 8           89.       Attached hereto as Exhibit 88 is a true and correct copy of a document titled “(SBU)

 9   Department of State Recommendation Regarding Extension of Temporary Protected Status (TPS)

10   for the Republic of the Sudan – 2017,” which was produced by Defendants in this action bearing

11   Bates numbers AR-SUDAN-00000051 through AR-SUDAN-00000056.

12           90.       Attached hereto as Exhibit 89 is a true and correct copy of a document, bearing Bates

13   numbers AR_SUDAN_00000021 through AR_SUDAN_00000047 and was produced by defendants

14   in this action.

15           91.       Attached hereto as Exhibit 90 is a true and correct copy of a document titled

16   “Temporary Protected Status: Calendar Year 2016 Annual Report, bearing Bates numbers

17   DPP_000000395 through DPP_000000436 and was produced by defendants in this action.

18           92.       Attached hereto as Exhibit 91 is a true and correct copy of an article from the New

19   York Times website (https://nyti.ms/2DEQLyv) posted on December 23, 2017 titled “Stoking Fears,

20   Trump Defied Bureaucracy to Advance Immigration Agenda.”

21           93.       Attached hereto as Exhibit 92 is a true and correct copy of an article from the

22   Washington Post website (https://wapo.st/2wgPjPF) posted on June 16, 2015 titled “Donald Trump

23   Announces Presidential Bid.”

24           94.       Attached hereto as Exhibit 93 is a true and correct copy of an article from the Vox

25   website (https://bit.ly/2EVmawy) posted on February 23, 2018 titled “The Snake”: Donald Trump

26   brings back his favorite anti-immigrant fable at CPAC.”

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       CORRECTED DECLARATION OF ALYCIA A. DEGEN ISO OF MOTION FOR PRELIMINARY INJUNCTION
                                  CASE NO. 3:18-cv-1554-EMC
        Case 3:18-cv-01554-EMC Document 122 Filed 09/20/18 Page 16 of 20



 1          95.    Attached hereto as Exhibit 94 is a true and correct copy of an article from the

 2   Washington Post website (https://wapo.st/2phcCG5) posted on November 22, 2015 titled “Trump’s

 3   outrageous claim that ‘thousands’ of New Jersey Muslims celebrated the 9/11 attacks.”

 4          96.    Attached hereto as Exhibit 95 is a true and correct copy of article from the New York

 5   Times website (https://www.nytimes.com/interactive/2018/01/15/opinion/leonhardt-trump-

 6   racist.html) posted on January 15, 2018 titled “Donald Trump’s Racism: The Definitive List.”

 7          97.    Attached hereto as Exhibit 96 is a true and correct copy of an article from the

 8   Washington Post website (https://www.washingtonpost.com/politics/trump-attacks-protections-

 9   forimmigrants-from-shithole-countries-in-oval-office-meeting/2018/01/11/bfc0725c-f711-11e7-

10   91af-31ac729add94_story.html?utm_term=.06cbc70bfaec.) posted on January 12, 2018 titled

11   “Trump derides protections for immigrants from ‘shithole’ countries.”

12          98.    Attached hereto as Exhibit 97 is a true and correct copy of an article from the New

13   York Times website (https://nyti.ms/2DiqhlM) posted on January 19, 2018 titled “Inside the Oval

14   Office Immigration Meeting that Left a Senator Stunned.”

15          99.    Attached hereto as Exhibit 98 is a true and correct copy of an article from the New

16   York Times website (https://nyti.ms/2Gq9Fcv) posted on May 16, 2018, 2018 titled “Trump Calls

17   Some Unauthorized Immigrants ‘Animals’ in Rant.”

18          100.   Attached hereto as Exhibit 99 is a true and correct copy of an article from the

19   Washington Post website (https://wapo.st/2OYkaIL) posted on July 13, 2018 titled “Trump:

20   Immigration is ‘changing the culture’ of Europe and its leaders ‘better watch themselves’.”

21          101.   Attached hereto as Exhibit 100 is a true and correct copy of an article from the CBS

22   News website (https://cbsn.ws/2nVrBVE) posted on February 23, 2018 titled “Deputy DHS

23   Secretary Elaine Duke retiring.”

24          102.   Attached hereto as Exhibit 101 is a true and correct copy of an article from the L.A.

25   Times website (https://lat.ms/2nTKnwD) posted on May 4, 2018 titled “Trump administration

26   ending temporary status for Hondurans, the latest immigrant group to have protections revoked.”

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       CORRECTED DECLARATION OF ALYCIA A. DEGEN ISO OF MOTION FOR PRELIMINARY INJUNCTION
                                  CASE NO. 3:18-cv-1554-EMC
        Case 3:18-cv-01554-EMC Document 122 Filed 09/20/18 Page 17 of 20



 1          103.    Attached hereto as Exhibit 102 is a true and correct copy of a press release posted on

 2   January 8, 2018 titled “Secretary of Homeland Security Kirstjen M. Nielsen Announcement on

 3   Temporary Protected Status for El Salvador,” available at https://bit.ly/2m8hCuH.

 4          104.    Attached hereto as Exhibit 103 is a true and correct copy of an article from the New

 5   York Times website (https://nyti.ms/2jPu8OS) posted on May 10, 2018 titled “Kirstjen Nielsen,

 6   Chief of Homeland Security, Almost Resigned After Trump Tirade.”

 7          105.    Attached hereto as Exhibit 104 is a true and correct copy of an article from the L.A.

 8   Times website (https://lat.ms/2ylDufz) posted on June 18, 2018 titled “Backlash builds against

 9   Trump's policy splitting families at border, as he falsely blames Democrats.”

10          106.    Attached hereto as Exhibit 105 is a true and correct copy of an email thread from

11   James Nealon to David Cloe and Traci Batla dated December 8, 2017, bearing Bates numbers

12   DPP_00002003 through DPP_00002005 and was produced by defendants in this action.

13          107.    Attached hereto as Exhibit 106 is a true and correct copy of a letter from one hundred

14   and sixteen congressional representatives to Acting Secretary Duke and dated September 11, 2017

15   available at https://bit.ly/2nXKkzA.

16          108.    Attached hereto as Exhibit 107 is a true and correct copy of a letter dated November

17   10, 2017 from Victoria Pulos of Massachusetts Law Reform Institute to Acting Secretary Elaine

18   Duke, bearing Bates numbers USCIS_RFPD_00000454 through USCIS_RFPD_00000458 and was

19   produced by defendants in this action.

20          109.    Attached hereto as Exhibit 108 is a true and correct copy of a letter dated November

21   10, 2017 from The United States Conference of Mayors to The Honorable Elaine Duke and The

22   Honorable Rex W. Tillerson, bearing Bates numbers AR-HAITI-00000114 through AR-HAITI-

23   00000117 and was produced by defendants in this action.

24          110.    Attached hereto as Exhibit 109 is a true and correct copy of a letter dated May 18,

25   2017 from Organizations and Persons Serving the Haitian American community to President Trump

26   and Secretaries Kelly and Tillerson, bearing Bates numbers DHS_RFPD_00000469 through

27   DHS_RFPD_00000479 and was produced by defendants in this action.

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       CORRECTED DECLARATION OF ALYCIA A. DEGEN ISO OF MOTION FOR PRELIMINARY INJUNCTION
                                  CASE NO. 3:18-cv-1554-EMC
        Case 3:18-cv-01554-EMC Document 122 Filed 09/20/18 Page 18 of 20



 1             111.   Attached hereto as Exhibit 110 is a true and correct copy of a document titled

 2   “Decision Memorandum for the Secretary: El Salvador’s Designation for Temporary Protected

 3   Status” and dated December 20, 2017, bearing Bates numbers AR_EL_SALVADOR_00000045

 4   through AR_EL_SALVADOR_00000051 and was produced by defendants in this action.

 5             112.   Attached hereto as Exhibit 111 is a true and correct copy of a document titled

 6   “Background/Country Specifics on Current TPS Designations,” bearing Bates numbers

 7   DHS_RFPD_00000987 through DHS_RFPD_00000988 and was produced by defendants in this

 8   action.

 9             113.   Attached hereto as Exhibit 112 is a true and correct copy of a document letter from

10   Secretary of State Rex Tillerson to Acting Secretary Duke and dated October 31, 2017, bearing

11   Bates numbers AR_HAITI_00000031 through AR_HAITI_00000032 and was produced by

12   defendants in this action.

13             114.   Attached hereto as Exhibit 113 is a true and correct copy of a document titled

14   “Memorandum for the Acting Secretary: Designation of Temporary Protected Status for Honduras,

15   Nicaragua, and El Salvador” and dated October 31, 2017, bearing Bates numbers

16   AR_NICARAGUA_00000002 through AR_NICARAGUA_00000004 and was produced by

17   defendants in this action.

18             115.   Attached hereto as Exhibit 114 is a true and correct copy of a document letter from

19   Secretary of State Rex Tillerson to Acting Secretary Duke and dated October 31, 2017, bearing

20   Bates numbers AR_NICARAGUA_00000032 through AR_ NICARAGUA_00000033 and was

21   produced by defendants in this action.

22             116.   Attached hereto as Exhibit 115 is a true and correct copy of a document letter from

23   Secretary of State Rex Tillerson to Acting Secretary Duke and dated October 31, 2017, bearing

24   Bates numbers AR_EL_SALVADOR_00000014 through AR_EL_SALVADOR_00000015 and was

25   produced by defendants in this action.

26             117.   Attached hereto as Exhibit 116 is a true and correct copy of an email thread dated

27   November 16, 2017 by and between Major General Jon Norman and Eric Jones, bearing Bates

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       CORRECTED DECLARATION OF ALYCIA A. DEGEN ISO OF MOTION FOR PRELIMINARY INJUNCTION
                                  CASE NO. 3:18-cv-1554-EMC
           Case 3:18-cv-01554-EMC Document 122 Filed 09/20/18 Page 19 of 20



 1   numbers DHS_RFPD_00002416 through DHS_RFPD_00002418 and was produced by defendants

 2   in this action.

 3            118.     Attached hereto as Exhibit 117 is a true and correct copy of an email thread dated

 4   August 30, 2017 by and between David Palmer, Kathy Neubel Kovarik, Gene Hamilton and

 5   Christina McDonald, bearing Bates numbers DHS_RFPD_00001250 through

 6   DHS_RFPD_00001253.

 7            119.     Attached hereto as Exhibit 118 is a true and correct copy of an email thread dated

 8   September 22, 2017 by and between Brandon B. Prelogar, Kathy Neubel Kovarik and Kathryn E.

 9   Anderson, bearing Bates numbers DPP_00003186 through DPP_00003191.

10            120.     Attached hereto as Exhibit 119 is a true and correct copy of an email thread dated

11   November 6, 2017 by and between Chad Wolf and Thomas P. Bossert, bearing Bates numbers

12   DPP_00001703 through DPP_00001704.

13            121.     Attached hereto as Exhibit 120 is a true and correct copy of a document titled

14   decision memorandum and dated October 26, 2017, bearing Bates numbers AR-NICARAGUA-

15   00000005 through AR-NICARAGUA-00000011 and was produced by defendants in this action.

16            122.     Attached hereto as Exhibit 121 is a true and correct copy of a document titled

17   decision memorandum and dated November 3, 2017, bearing Bates numbers AR-HAITI-00000033

18   through AR-NICARAGUA-00000039 and was produced by defendants in this action.

19            123.     Attached hereto as Exhibit 122 is a true and correct copy of a document titled

20   decision memorandum and dated December 20, 2017, bearing Bates numbers AR-EL-SALVADOR-

21   00000045 through AR-EL-SALVADOR-00000051 and was produced by defendants in this action.

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       CORRECTED DECLARATION OF ALYCIA A. DEGEN ISO OF MOTION FOR PRELIMINARY INJUNCTION
                                  CASE NO. 3:18-cv-1554-EMC
                         Case 3:18-cv-01554-EMC Document 122 Filed 09/20/18 Page 20 of 20



                1               124.   Attached hereto as Exhibit 123 is a true and correct copy of a document titled

                2     “Extension of Haiti’s Designation for Temporary Protected Status” and accompanying notes, bearing

                3     Bates numbers DPP_00002409 through DPP_00002432 and was produced by defendants in this

                4     action.

                5               I declare under penalty of perjury that the foregoing is true and correct.

                6     Executed this 23rd day of August 2018, in Los Angeles, California.

                7                                                              /s/ Alycia A. Degen
                                                                              Alycia A. Degen
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                                                   CASE NO. 3:18-cv-1554-EMC
